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                             IN THE UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF OHIO
                                      WESTERN DIVISION


 T.W. and K.W. as Parents and Legal :              CASE NO. 1:18-cv-00668
 Guardian of Jane Doe, a minor      :
                                           :       Judge Timothy S. Black
               Plaintiffs,                 :
                                           :       REPLY MEMORANDUM IN SUPPORT
                                           :
        vs.                                        OF DEFENDANTS’ PARTIAL MOTION
                                           :
                                           :
                                                   TO DISMISS PLAINTIFFS’
 FINNEYTOWN LOCAL SCHOOL                   :       CORRECTED AMENDED COMPLAINT
 DISTRICT, et al.                          :
                                           :
               Defendants.                 :



       Defendants Finneytown Local School District Board of Education (“Board” or

“Finneytown”), Laurie Banks, Jennifer Dinan, Douglas Dirr, Douglas Lantz, Allison McCrea,

Cathy McNair, Eric Muchmore, Terri Noe, Marlo Thigpen, and Nicholas Tippenhauer respectfully

submit their reply memorandum in support of their partial motion to dismiss the Corrected

Amended Complaint.

                                                     Respectfully submitted,

                                                     /s/ Ian R. Smith______________
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                                                     R. Gary Winters (0018680)
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                                                     Douglas Lantz, Allison McCrea, Cathy
                                                     McNair, Eric Muchmore, Terri Noe, Marlo
                                                     Thigpen, and Nicholas Tippenhauer

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                                        MEMORANDUM


   I.      LAW AND ARGUMENT

            A. Count VII: Negligence Claim Under R.C. 3313.66

        In response to Defendants’ motion to dismiss Count VII, Plaintiffs now claim, after two

amendments to their complaint, that they have brought a common-law tort claim. (Doc # 21,

PAGEID # 191). This is a new argument unsupported by any allegations in the Corrected

Amended Complaint. (Doc # 17, PAGEID # 158-159). Plaintiffs have not asserted a common-

law tort claim. (Id.). Even Plaintiffs refer to this Count as “Negligence Claim Under R.C. 3313.66”

in their Response in Opposition. (Doc # 21, PAGEID # 191). Plaintiffs’ concession that this

statute does not create a cause of action is fatal to this Count. It must be dismissed.

            B. Count VIII: R.C. 2744.03 Negligence Action Against Defendants Anderson,
               Dinan, and Noe

        Plaintiffs have produced no legal authority for them to pursue Count VIII. For the reasons

set forth in the partial motion to dismiss, this claim must be dismissed. (Doc # 19, PAGEID # 179-

180).

            C. Count X: Claim for Injunctive Relief

        Plaintiffs have now taken the position that they only agreed to dismiss the claim for

injunctive relief in paragraph 113 of the complaint. (Doc # 21, PAGEID # 188). There is no

factual basis for this contention. It runs contrary to communications between counsel (Doc # 24,

PAGEID # 255), the No-Contact Agreement (Doc # 21-1, PAGEID # 198), and the filed stipulation

of dismissal (Doc # 9, PAGEID # 86). Plaintiffs have agreed in writing to completely dismiss all

of Plaintiffs’ equitable claims and motion for permanent and preliminary injunction. (Doc # 24,

PAGEID # 255).



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       The No-Contact Agreement, signed by Plaintiffs’ counsel on November 12, 2018, states

that Plaintiffs agree to withdraw their Motion for a Permanent Injunction and Preliminary

Injunction. (Doc #21-1, PAGEID # 198-199).

       The Stipulation, which was approved and filed by Plaintiffs’ counsel on March 7, 2019,

states that “Plaintiffs’ equitable relief claims, as set forth in Paragraphs 112-121 (Count IX) of

Plaintiffs’ Complaint, are Dismissed, and that Plaintiffs withdraw their Motion for Preliminary

and Permanent Injunction.” (Doc # 9, PAGEID # 86). Defense counsel prepared the stipulation

and submitted it to Plaintiffs’ counsel on March 5, 2019. (Doc # 24-1, PAGEID # 257). Plaintiffs’

counsel made no changes and filed it two days later. (Id.).

       Count IX was later renumbered as Count X by Plaintiffs when they amended their

Complaint. (Doc #1, PAGEID # 20-22, Doc #17, PAGEID # 161-163). The only substantive

change between old Count IX and new Count X was the removal of the paragraph 113 which

sought to enjoin Finneytown from placing Plaintiff in the same classes as the alleged harassers.

(Doc #1, PAGEID # 20; Doc # 17, PAGEID # 161-163).

       There is no legitimate basis by which to revive Count X or the motion for injunctive relief.

The parties knowingly negotiated the dismissal of these claims.

            D. Count I: “Failure to Comply with Title IX” Claim Against the Board

       Plaintiffs have conceded that the implied private right of action under Title IX does not

allow recovery in damages for violation of those sorts of administrative requirements. (Doc #21,

PAGEID # 193). Plaintiffs claim that they seek injunctive relief under Count I. (Id.). For the

reasons set forth above, any claim for injunctive relief should be dismissed.




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            E. Count IX: Intentional Infliction of Emotional Distress Claim

         Count IX against defendants is apparently based on a failure-to-act, not intentional or

criminal conduct. (Doc #21, PAGEID # 194). Plaintiffs have alleged no conduct by any Defendant

which goes beyond the intentionally tortious or criminal. See Yeager v. Local Union 20, 6 Ohio

St. 3d 369, 671, 453 N.E.2d 666 (1983). For the reasons set forth in the partial motion to dismiss,

Plaintiffs have failed to sufficiently state a claim for relief under Count IX against Defendants.

(Doc # 19, PAGEID # 181-183).

   II.      CONCLUSION

         Based on the foregoing and for the reasons set forth in the partial motion to dismiss,

Defendants move this Court to issue an order dismissing Counts I, VII, VIII, IX, X, and Plaintiffs’

motions for injunctive relief.

                                                     Respectfully submitted,

                                                     /s/ Ian R. Smith______________
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                                                     Dirr, Douglas Lantz, Allison McCrea,
                                                     Cathy McNair, Eric Muchmore, Terri Noe,
                                                     Marlo Thigpen, and Nicholas Tippenhauer




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the foregoing was filed electronically on March 9, 2020
using the Court’s CM/ECF system, which will serve all parties and counsel of record who have
appeared and constitutes service by rule. A copy of this filing was also sent via e-mail to the
following counsel: Bennett P. Allen, Esq. ballen@econjustice.com and Scott A Sollmann, Esq.
ssollmann@smbplaw.com.

                                                     /s/ Ian R. Smith__________
                                                     Ian R. Smith




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